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                14
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                15
                                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                16
                17 CISCO SYSTEMS, INC.,                             CASE NO. 5:14-cv-5344-BLF
                18                 Plaintiff,                       CISCO SYSTEMS, INC.’S MOTION AND
                                                                    NOTICE OF MOTION TO EXCLUDE
                19          vs.                                     EXPERT OPINION TESTIMONY FROM
                                                                    DEFENDANT ARISTA NETWORKS,
                20 ARISTA NETWORKS, INC.,                           INC.’S EXPERT CATE M. ELSTEN
                21                 Defendant.                       REDACTED VERSION
                22                                                       Date: September 9, 2016
                                                                         Time: 9:00 a.m.
                23                                                       Dep’t: Courtroom 3, 5th Floor
                                                                         Judge: Hon. Beth Labson Freeman
                24
                                                                         Date Filed: December 5, 2014
                25
                                                                         Trial Date: November 21, 2016
                26
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                  1          PLEASE TAKE NOTICE, that on September 9, 2016, at 9:00 a.m., before the Honorable
                  2 Beth Labson Freeman in the United States District Court for the Northern District of California,
                  3 Plaintiff Cisco Systems, Inc. (“Cisco”), will, and hereby does, move the Court under Federal Rules
                  4 of Evidence 401, 403, 702, and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), to
                  5 exclude certain opinions of Defendant Arista Networks, Inc.’s expert Cate M. Elsten. This Motion
                  6 is based on this Notice of Motion and Motion, the Memorandum of Points and Authorities below,
                  7 the Declaration of Andrew M. Holmes filed herewith, and such other papers, evidence and
                  8 argument as may be submitted to the Court.
                  9                      MEMORANDUM OF POINTS AND AUTHORITIES
                10 I.        INTRODUCTION
                11           Cisco respectfully moves to exclude in part the expert opinion testimony of Arista’s

                12 damages expert, Cate M. Elsten,1 because (1) her opinions regarding disgorgement of profits

                13 damages are inconsistent with the applicable legal standards, (2) her apportionment opinions based
                14 on a Cisco presentation are arbitrary, unreliable and contrary to the factual record, (3) her
                15 alternative apportionment data points are arbitrary and unreliable, (4) her opinions regarding non-
                16 infringing alternatives in connection with disgorgement of profits are contrary to the purposes of
                17 disgorgement, (5) she lacks any relevant expertise to opine on a de facto “industry standard” CLI
                18 and in any event her conclusions theron are unreliable and irrelevant to any claim, and (6) her
                19 speculation about corporate intent and the beliefs of third parties is improper.
                20 II.       LEGAL STANDARD
                21           Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S.
                22 579 (1993), this Court serves as a “gatekeeper” for expert opinion testimony. Under Rule 702, a
                23 proposed expert may present opinion testimony to the jury only if:
                24

                25
                26       1
                         Cate Elsten submitted two expert reports on behalf of Arista in this case—an opening report
                   on June 3, 2016 (“Elsten Opening,” Ex. 7) and a rebuttal report on July 13, 2016 (“Elsten
                27 Rebuttal,” Ex. 8). Unless otherwise noted, references to “Ex.” refer to exhibits to the Declaration
                28 of Andrew M. Holmes filed herewith.
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                               (a) the expert’s scientific, technical, or other specialized knowledge will help the
                  1                trier of fact to understand the evidence or to determine a fact in issue;
                               (b) the testimony is based on sufficient facts or data;
                  2            (c) the testimony is the product of reliable principles and methods; and
                               (d) the expert has reliably applied the principles and methods to the facts of the
                  3                case.
                  4 Fed. R. Evid. 702; see also Feduniak v. Old Republic Nat’l Title Co., 2015 WL 1969369, at *1-2

                  5 (N.D. Cal. May 1, 2015) (discussing the legal standards for Daubert motions). The proponent of

                  6 the expert testimony must prove that Rule 702 has been satisfied. Daubert, 509 U.S. at 592.

                  7 III.       ARGUMENT
                  8            A.      Ms. Elsten’s Disgorgement of Profits Opinions Should Be Excluded Because
                                       They Are Inconsistent With The Controlling Legal Standards
                  9
                               Ms. Elsten’s disgorgement of profits opinions should be excluded under Rules 702 and 403
                10
                        because they are inconsistent with the controlling legal standards concerning the disgorgement of
                11
                        the infringer’s profits in copyright cases. First, Ms. Elsten asserts that, to recover any profits, “
                12

                13
                                 ” Ex. 8, Elsten Rebuttal p. 74. That is incorrect. To determine infringer’s profits from
                14
                        direct sales of an infringing product, 17 U.S.C. § 504(b) provides simply for a two-step burden-
                15
                        shifting process: “In establishing the infringer’s profits, the copyright owner is required to present
                16
                        proof only of the infringer’s gross revenue, and the infringer is required to prove his or her
                17
                        deductible expenses and the elements of profit attributable to factors other than the copyrighted
                18
                        work.” See, e.g., Oracle Am., Inc. v. Google, Inc., 2016 WL 2342365, at *3-4 (N.D. Cal. May 3,
                19
                        2016). Only where (unlike here), a plaintiff seeks to recover indirect profits—profits with a more
                20
                        attenuated nexus to the infringement—is a plaintiff required to first show a causal nexus between
                21
                        the infringement and the gross revenue. See, e.g., Polar Bear Prods. v. Timex Corp., 384 F.3d
                22
                        700, 710 (9th Cir. 2004) (“because the amount of profits attributable to the infringement in an
                23
                        indirect profits case is not always clear, ‘we have held that a copyright holder must establish the
                24
                        existence of a causal link before indirect profits damages can be recovered’”); Mackie v. Rieser,
                25
                        296 F.3d 909, 915 (9th Cir. 2002).
                26
                               Here, the gross revenues at issue are from Arista’s direct sales of infringing switches, not
                27
                        indirect sales, and thus no causal nexus must be separately shown. Ms. Elsten complains that
                28
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                  1 Cisco’s expert Dr. Judith Chevalier’s “

                  2

                  3                                                                     ” Ex. 8, Elsten Rebuttal p. 75.

                  4 But that is exactly Arista’s burden. Pursuant to 17 U.S.C. § 504(b), because Cisco’s expert, Dr.

                  5 Chevalier, has calculated Arista’s gross revenues from sales of infringing switches, the burden

                  6 shifts to Arista to apportion profits between infringing and non-infringing elements. Ms. Elsten’s

                  7 opinions criticizing Dr. Chevalier for purportedly failing to show a causal nexus by a

                  8 “preponderance of the evidence” are thus inconsistent with 17 U.S.C. § 504(b), and will mislead

                  9 and confuse the jury to Cisco’s detriment because her opinions . Accordingly, Ms. Elsten’s

                10 opinions should be excluded as unreliable under Rule 702 and Daubert and unduly prejudicial

                11 under Rule 403. See Apple, Inc. v. Samsung Elecs. Co., 2012 WL 2571332, at *6 (N.D. Cal. June

                12 30, 2012) (“Because Mr. Wagner’s apportionment of damages with respect to Apple’s design

                13 patent infringement claims is contrary to law, it is unreliable under FRE 702 and Daubert and

                14 unduly prejudicial under FRE 403.”).

                15          Second, even if causal nexus were required, Ms. Elsten applies an incorrect, overly
                16 stringent causal nexus standard requirement to both Dr. Chevalier’s and her own apportionment

                17 analysis. Ms. Elsten opines that

                18

                19                                                                                            ” Ex. 8,
                20 Elsten Rebuttal p. 75. In other words, Ms. Elsten opines that infringer’s profits may be disgorged

                21 under Section 504(b) only if the copyrighted features drove customer demand for Arista’s

                22 products. Ms. Elsten finds it dispositive that “

                23

                24                               ” But that “overstates the standard.” See Brocade Commc’ns. Sys.,
                25 Inc. v. A10 Networks, Inc., 2013 WL 831528, at *6 (N.D. Cal. Jan. 10, 2013) (finding that Section

                26 504(b) does not require a showing that the infringing code “drove consumer demand”). Because

                27

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                  1 Ms. Elsten has applied the incorrect legal standards in her apportionment analysis to Cisco’s

                  2 detriment, her opinions should be excluded. See Apple, 2012 WL 2571332, at *6.

                  3             B.     Ms. Elsten’s Apportionment Opinions Based On A Cisco Presentation Should
                                       Be Excluded Under Rule 702 Because They Are Arbitrary and Unreliable
                  4
                                For the majority of Arista customers, Ms. Elsten opines that
                  5
                                                                                                Ex. 8, Elsten Rebuttal pp.
                  6
                        89, 93. Ms. Elsten arrives at this percentage by purporting to identify the portion of Arista’s EOS
                  7
                        software related to the CLI by examining the proportion of CLI-related features identified in
                  8
                        selected documents. In particular, Ms. Elsten derives
                  9

                10
                                       Id. at p. 83. According to Ms. Elsten, in that presentation,
                11
                                                                                            Id. From there, Ms. Elsten
                12
                        assigned an equal value to each product feature and used the resulting percentage—
                13
                               —to apportion Arista’s profits to the infringing CLI. Id. pp. 83, 89, 93. Ms. Elsten testified
                14
                        that
                15
                                                                                                      Ex. 9, Elsten 7/28/2016
                16
                        Deposition Transcript (“Elsten Tr”) at 213:1-214:2. That is insufficient as a matter of law.
                17
                                As a Federal Circuit judge sitting my designation recently held, equally valuing features
                18
                        without an adequate basis is a methodology that lacks “the requisite indicia of expert reliability.”
                19
                        Stragent, LLC v. Intel Corp., 2014 WL 4262440, at *4 (E.D. Tex. Mar. 6, 2014) (Dyk, J., sitting
                20
                        by designation). Citing Stragent, Judge Grewal reached the same conclusion in Good Tech. Corp.
                21
                        v. Mobileiron, Inc., 2015 WL 4090431, at *7 (N.D. Cal. July 5, 2015), excluding a patent damages
                22
                        expert’s apportionment of incremental profits as “insufficient” where the expert assigned equal
                23
                        value to each criterion listed in a Gartner research report but did “no investigation into whether
                24
                        any of the criteria is more important than others, or how strongly each criterion is tied to the
                25
                        patents.” Id.; see also Finjan, Inc. v. Blue Coat Sys., Inc., 2015 WL 4272870, at *9 (N.D. Cal.
                26
                        July 14, 2015) (“Absent foundational facts to support the assumption that the functions are of
                27
                        equal value, this method of apportionment may be unreliable.”); Frank Music Corp. v. Metro-
                28
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                  1 Goldwyn-Mayer Inc., 886 F.2d 1545, 1548 (9th Cir. 1989) (noting that reliance “exclusively on a

                  2 quantitative comparison” of the various component parts for apportionment of profits would be

                  3 error). Ms. Elsten’s analysis was similarly deficient here.

                  4            Even assuming that it were appropriate to rely on one cherry-picked document to derive an

                  5 apportionment percentage (and it is not), Ms. Elsten’s analysis of that document ignores key facts.

                  6 Ms. Elsten concludes that the Cisco presentation

                  7

                  8                                                      Ex. 10, Elsten 7/28/2016 Deposition Exhibit 1593

                  9 (“Elsten Depo Ex. 1593”) at CSI-CLI-01610900. The eighth feature that Ms. Elsten lists in her

                10 report—“                         ”—is lifted from a different part of the presentation, which actually
                11 states: “                                                                     ” Id. at CSI-CLI-01610901.
                12 Ms. Elsten omits the parenthetical from her report and gives this factor equal weight, even though

                13 the Cisco presentation on its face qualifies the importance of that feature to customers. See id.;

                14 Elsten Rebuttal p. 83.2 The Cisco presentation similarly qualifies the importance of another one

                15 of the eight features that Ms. Elsten gives equal weight, noting: “

                16                                                                           ” Ex 10 at CSI-CLI-01610902.
                17 Ms. Elsten’s arbitrary decision to pull eight factors from the Cisco presentation, not seven or even

                18 six, and then to weight those factors equally without any factual basis is unreliable and prejudicial

                19 and her related opinions should be excluded.3 See, e.g., Uniloc USA, Inc. v. Microsoft Corp., 632

                20 F.3d 1292, 1318 (Fed. Cir. 2011) (rejecting rule-of-thumb patent damages estimates that are

                21 arbitrary, general, and “unrelated to the facts of th[e] case”).

                22

                23         2
                                Ms. Elsten testified that this parenthetical was not a limiting factor in her analysis because
                24      the Cisco presentation was dated “late in 2015” and thus “encompasses most of the damages
                        period.” Ex. 9, Elsten Tr. at 59. However, the Cisco presentation was actually created in March
                25      2012, as demonstrated by the March 26, 2012 document date in the document’s metadata, as well
                        as its attachment to an email dated March 29, 2012. Elsten Depo. Ex. 1593; see also Ex. 11
                26      [metadata report for CSI-CLI-01610895-934].
                            3
                                As one example, Ms. Elsten agrees that the resulting apportionment percentage would have
                27
                        been higher if
                                     Ex. 9, Elsten Tr. at 63:6-64:3.

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                               C.      Ms. Elsten’s Alternative Apportionment Data Points Should Be Excluded
                  1                    Under Rule 702 Because They Are Arbitrary And Unreliable
                  2            In her discussion of the portion of Arista’s EOS software related to the CLI, Ms. Elsten

                  3 identifies several alternative apportionment data points to the                                   that she

                  4 ultimately relies on (discussed above), but Ms. Elsten’s opinions regarding those data points

                  5 should be excluded because they are equally arbitrary and unreliable. Each of these opinions is no

                  6 more than an arithmetic exercise regarding lists of product features, lines of code or numbers of

                  7 CLI commands and should be excluded because they do not require an “expert’s scientific,

                  8 technical, or other specialized knowledge” to assist the factfinder. Fed. R. Evid. 702(a); see also

                  9 United States v. Finley, 301 F.3d 1000, 1007 (9th Cir. 2002). Simple arithmetic exercises—like

                10 counting, adding, and dividing—are within the common knowledge of the average layperson.

                11 Moreover, Ms. Elsten does not have scientific, technical or other specialized knowledge that

                12 would justify her decision to weight the different items equally or that provides any context to

                13 help the factfinder interpret or understand the data.

                14                     1.      Ms. Elsten’s Opinions Based On Counting Source Code or CLI
                                               Commands Are Unreliable And Should Be Excluded.
                15
                               In her report, Ms. Elsten relies on various source code counts from Arista’s technical
                16
                        expert, Dr. Black, and a consultant hired by Arista, Andrew Schulman, to calculate the percentage
                17
                        of the total source code devoted to the CLI in both Arista’s EOS and Cisco’s IOS and NX-OS.
                18
                        Ex. 8, Elsten Rebuttal at pp. 88-89, Table 12. Ms. Elsten also cites various CLI command counts
                19
                        to calculate the percentage of total commands accused of infringement by Cisco. See id. pp. 90-
                20
                        92, Figure 14. Ms. Elsten’s opinions based on counting source code or CLI commands should be
                21
                        excluded because she does not have any scientific, technical or other specialized knowledge that
                22
                        would assist the factfinder in this simple arithmetic or that would support any opinion or
                23
                        implication that the percentage of code used to implement the CLI has any relationship whatsoever
                24
                        to the value of the CLI. Notably, in her report, Ms. Elsten simply observes what percentage of the
                25
                        code base the CLI represents, not that the percentage has any probative value. Moreover, Ms.
                26
                        Elsten could not identify the relevance of the source code calculations to a factfinder, testifying:
                27
                        “
                28
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                  1                                .” Ex. 9, Elsten Tr. at 80:10-15; see also id. at 79:9-22. Absent any

                  2 relevant expertise and the fact that the value of an infringing feature “cannot be reduced to a mere

                  3 counting of lines of code,” Ms. Elsten’s testimony on this topic should be excluded. Lucent

                  4 Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1332-33 (Fed. Cir. 2009); see Finjan, 2015 WL

                  5 4272870, at * 5.

                  6                    2.      Ms. Elsten’s Opinions Based On Cherry-Picked Arista Documents Are
                                               Unreliable And Should Be Excluded.
                  7
                               Ms. Elsten’s alternative apportionment data points from                  based on various
                  8
                        cherry-picked Arista documents (see Ex. 8, Elsten Rebuttal pp. 83-89) should likewise be
                  9
                        excluded because they lack “the requisite indicia of expert reliability.” Stragent, 2014 WL
                10
                        4262440, at *4. Ms. Elsten cites two Arista EOS software block diagrams, one 2008 Arista EOS
                11
                        software component list, one 2013 EOS feature list, and thirteen Arista RFPs, but for each of these
                12
                        documents, she simply
                13
                               and performs simple arithmetic. Ex 8, Elsten Rebuttal p. 89, Table 13; see also id. pp. 83-
                14
                        89. By her own admission, Ms. Elsten made no attempt to determine whether any of the features
                15
                        should be given more or less weight than any of the other features, but simply gave each feature
                16
                        equal weight in her calculations. Ex. 9, Elsten Tr. at 213:1-214:9. Thus, because Ms. Elsten has
                17
                        admitted that there is no basis for her assumption that the features have equal value, her
                18
                        apportionment opinions are unreliable and should be excluded. See See Good Tech., 2015 WL
                19
                        4090431, at *7 (excluding expert’s apportionment opinion as “insufficient” because the expert did
                20
                        “no investigation into whether any of the criteria is more important than others, or how strongly
                21
                        each criterion is tied to the patents”); Finjan, 2015 WL 4272870, at *9 (“Absent foundational facts
                22
                        to support the assumption that the functions are of equal value, this method of apportionment may
                23
                        be unreliable.”).
                24
                               D.      Ms. Elsten’s Opinions Regarding Non-Infringing Alternatives In Connection
                25                     With Disgorgement of Profits Should Be Excluded.
                26             Ms. Elsten should be precluded from testifying regarding purported non-infringing
                27 alternatives or the availability of alleged “Cisco-like” CLIs from other vendors in connection with

                28
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                  1 either the causal nexus or apportionment aspects of disgorgement. Ms. Elsten asserts that her

                  2 analyses and conclusions regarding other vendors are relevant and incorporates them by reference

                  3 in her disgorgement discussion. See Ex. 8, Elsten Rebuttal p. 74; id. at 75 (“

                  4

                  5

                  6                                                                                   ).) But non-infringing

                  7 alternatives are both irrelevant and highly prejudicial in the context of disgorgement damages. As

                  8 Judge Alsup explained in Oracle Am, Inc. v. Google, Inc.: “The idea behind Section 504(b) is to

                  9 hand over to the copyright owner the actual profits made by the infringer using his copyrighted

                10 work. If a copyright infringer could avoid disgorgement by claiming he could have substituted

                11 some non-infringing alternative, the infringer would rarely be discouraged from infringing and the

                12 purpose of the disgorgement remedy would be eviscerated.” 2016 WL 1743154, at *4 (N.D. Cal.

                13 May 2, 2016). Non-infringing alternatives are similarly at odds with the purpose of disgorgement

                14 if proffered to rebut causal nexus, for they ignore whether the accused elements in fact had any

                15 causal link to the revenues at issue. Id. (excluding expert’s analysis that would “make it nearly

                16 impossible to ever establish a causal nexus, inasmuch as one could almost always conceive of

                17 myriad non-infringing alternatives that, if substituted for the infringing elements of a work, could

                18 have caused similar revenues”).

                19             E.      Ms. Elsten’s Opinions Regarding a “De Facto Industry Standard” and
                                       “Industry Standard CLIs” Should Be Excluded.
                20
                               Ms. Elsten seeks to opine that Cisco’s CLI uses a “de facto industry standard CLI” that
                21
                        Arista is free to copy, relying in part for this conclusion on the opinions of Arista experts of Mr.
                22
                        William Seifert and Dr. John Black. Ex. 7, Elsten Opening pp. 16, 20-21, 29-37; Ex. 8, Elsten
                23
                        Rebuttal pp. 11, 34-38, 59-61.4 According to Ms. Elsten,
                24

                25

                26         4
                         Cisco is filing concurrently herewith motions to exclude the testimony of Mr. Seifert and
                   Dr. Black as to Cisco’s supposed “de facto industry standard” CLI. See Cisco’s Motions to
                27
                   Exclude Opinion Testimony of John R. Black (“Black Motion”) and William M. Seifert (“Seifert
                28 Motion”), filed herewith.
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                  1                                                                        Ex. 7, Elsten Opening p. 34.

                  2 Citing industry analysts, she states:

                  3

                  4                                                Id. p. 35. Ms. Elsten’s opinion appears to be that

                  5 copying of the purported “industry standard CLI” is by definition permissible. Id. p. 37-38.

                  6          Ms. Elsten’s opinions about a de facto industry standard CLI should be excluded. First,
                  7 Federal Rule of Evidence 702 (a) requires that a witness offering “expert” testimony must be

                  8 “qualified as an expert by knowledge, skill, experience, training, or education” in order to offer

                  9 expert opinions, and Ms. Elsten is not a technical expert, an expert in industry standards or an

                10 expert in de facto industry standards relating to CLIs. She has no prior experience with Ethernet

                11 switches. Ex. 9, Elsten Tr. at 24:16-17. Ms. Elsten is a Certified Management Accountant

                12 employed as a Managing Director for Ocean Tomo, an intellectual property consulting firm. Ex.

                13 7, Elsten Opening Appx. B. “[E]ven the most qualified expert may not offer any opinion on any

                14 subject; the expert’s opinion must be grounded in his or her personal ‘knowledge, skill,

                15 experience, training, or education.’” Mullins v. Premier Nutrition Corp., 2016 WL 1534784, at

                16 *22 (N.D. Cal. Apr. 15, 2016). These opinions are not grounded in Ms. Elsten’s expertise.

                17           Second, Ms. Elsten’s opinions that there is a de facto industry standard CLI fail all four
                18 factors of the reliability prong set forth in Daubert. 509 U.S. at 593–94. Like Dr. Black’s and Mr.

                19 Seifert’s opinions, Ms. Elsten’s opinions are untestable, unreliable, not peer reviewed, and have

                20 never been accepted by any scientific community. See Black Motion, Seifert Motion. Because

                21 Ms. Elsten’s opinions do not “rest[] on a reliable foundation,” Daubert, 509 U.S. at 591, they

                22 should be rejected.

                23           Third, as with Dr. Black and Mr. Seifert (see Black Motion, Seifert Motion), Ms. Elsten’s
                24 de facto industry standard CLI opinions should be excluded under Rules 401, 402, 403 and 702

                25 because they are not “relevant to the task at hand.” Daubert, 509 U.S. at 591. Under Rule 403,

                26 even relevant evidence can be excluded “‘if its probative value is substantially outweighed by a

                27 danger of … unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting

                28
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                  1 time, or needlessly presenting cumulative evidence.’” Id. Here, because Ms. Elsten’s opinions

                  2 regarding a purported de facto industry standard CLI are not relevant to any issue, there is no

                  3 doubt they should be excluded to avoid confusing the jury and prejudicing Cisco.

                  4             F.      Ms. Elsten’s Opinions Regarding Corporate Intent And The Subjective Beliefs
                                        of Others Should Be Excluded.
                  5
                                Corporate intent and the subjective beliefs of others are not proper topics for expert
                  6
                        testimony, let alone for the testimony of a damages expert with no specialized education, training,
                  7
                        or experience in psychology, business, or the law. See Fed. R. Evid. 702(a); Daubert, 509 U.S. at
                  8
                        592. Here, Ms. Elsten has provided improper opinions and speculation about corporate intent and
                  9
                        beliefs of third parties, such as: (i)
                10
                                                                          Ex. 7, Elsten Opening p. 30; (ii)
                11

                12
                                  id. p. 37; and (iii) the
                13
                                                                                   id. Such opinions—which consist of
                14
                        unexplained conclusions about third party beliefs untethered from any scientific method—are not
                15
                        based on any expertise possessed by Ms. Elsten. Nor does either Dr. Black or Mr. Seifert have the
                16
                        requisite expertise for Ms. Elsten to rely on their opinions. See Black Motion, Seifert Motion.
                17
                        Because it is beyond the purview of experts like Ms. Elsten, Dr. Black and Mr. Seifert to opine
                18
                        about what others “thought” or what their “subjective beliefs” might be, Ms. Elsten’s opinions on
                19
                        corporate intent and subjective beliefs of others should be excluded. Finjan, 2015 WL 4272870,
                20
                        at *3; see also, e.g., Diviero v. Uniroyal Goodrich Tire Co., 114 F.3d 851, 853 (9th Cir. 1997);
                21
                        Island Intellectual Prop. LLC v. Deutsche Bank AG, 2012 WL 526722, at *8 (S.D.N.Y. Feb. 14,
                22
                        2012); BorgWarner, Inc. v. Honeywell Int’l, Inc., 750 F. Supp. 2d 596, 611 (W.D.N.C. 2010).
                23
                        IV.     CONCLUSION
                24
                                For all the foregoing reasons, Cisco’s Motion to Exclude In Part the Opinion Testimony of
                25
                        Cate M. Elsten should be GRANTED.
                26

                27

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                        Dated: August 5, 2016                     Respectfully submitted,
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